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 1    Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
 2    LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3    21550 Oxnard St., Suite 780
      Woodland Hills, CA 91367
 4
      Phone: 323-306-4234
 5    Fax: 866-633-0228
      tfriedman@toddflaw.com
 6
      abacon@toddflaw.com
 7    Attorneys for Plaintiff
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
                                            )      Case No.
11    CRAIG CUNNINGHAM, individually )
      and on behalf of all others similarly )      CLASS ACTION
12
      situated,                             )
13                                          )      COMPLAINT FOR VIOLATIONS
14    Plaintiff,                            )      OF:
                                            )
15           vs.                            )         1.      NEGLIGENT VIOLATIONS
                                                              OF THE TELEPHONE
16                                          )                 CONSUMER PROTECTION
      GREWALL LAW; WEITZ &                  )                 ACT [47 U.S.C. §227(b)]
17                                                    2.      WILLFUL VIOLATIONS
      LUXENBERG, P.C.; and SGMS,            )
                                                              OF THE TELEPHONE
18    INC. dba LEGAL CONVERSION             )                 CONSUMER PROTECTION
19    CENTER, and DOES 1 through 10,        )                 ACT [47 U.S.C. §227(b)]
      inclusive, and each of them,          )         3.      NEGLIGENT VIOLATIONS
20                                                            OF THE TELEPHONE
                                            )                 CONSUMER PROTECTION
21    Defendants.                           )                 ACT [47 U.S.C. §227(c)]
                                            )         4.      WILLFUL VIOLATIONS
22                                                            OF THE TELEPHONE
                                            )                 CONSUMER PROTECTION
23                                          )                 ACT [47 U.S.C. §227(c)]
24
                                            )
                                            )
25                                          )      DEMAND FOR JURY TRIAL
26
27          Plaintiff CRAIG CUNNINGHAM (“Plaintiff”), individually and on behalf
28    of all others similarly situated, alleges the following upon information and belief


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 1    based upon personal knowledge:
 2                                NATURE OF THE CASE
 3           1.    Plaintiff brings this action individually and on behalf of all others
 4    similarly situated seeking damages and any other available legal or equitable
 5    remedies resulting from the illegal actions of GREWALL LAW, WEITZ &
 6    LUXENBERG, P.C., and SGMS, INC. dba LEGAL CONVERSION CENTER
 7    (“Defendants”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 8    Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 9    Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related regulations, specifically the
10    National Do-Not-Call provisions, thereby invading Plaintiff’s privacy.
11                              JURISDICTION & VENUE
12           2.    Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
13    a resident of Texas, seeks relief on behalf of a Class, which will result in at least
14    one class member belonging to a different state than that of Defendant WEITZ &
15    LUXENBERG, P.C., a California corporation. Plaintiff also seeks up to $1,500.00
16    in damages for each call in violation of the TCPA, which, when aggregated among
17    a proposed class in the thousands, exceeds the $5,000,000.00 threshold for federal
18    court jurisdiction. Therefore, both diversity jurisdiction and the damages threshold
19    under the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court
20    has jurisdiction.
21           3.    Venue is proper in the United States District Court for the Central
22    District of California pursuant to 28 U.S.C. § 1391(b) because Defendant WEITZ
23    & LUXENBERG, P.C. does business within the State of California and a
24    substantial portion of the events giving rise to Plaintiff’s claims occurred in this
25    District.
26                                        PARTIES
27           4.    Plaintiff, CRAIG CUNNINGHAM (“Plaintiff”), is a natural person
28    residing in Collin County, Texas and is a “person” as defined by 47 U.S.C. § 153


                                 CLASS ACTION COMPLAINT
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 1    (39).
 2            5.    Defendant, GREWAL LAW (“Defendant”) is a law firm, and is a
 3    “person” as defined by 47 U.S.C. § 153 (39).
 4            6.    Defendant, WEITZ & LUXENBERG P.C. (“Defendant”) is a law
 5    firm, and is a “person” as defined by 47 U.S.C. § 153 (39).
 6            7.    Defendant, SGMS, INC. dba LEGAL CONVERSION CENTER
 7    (“Defendant”) is a call center service, and is a “person” as defined by 47 U.S.C. §
 8    153 (39).
 9            8.    The above-named Defendants, and its subsidiaries and agents, are
10    collectively referred to as “Defendants.” The true names and capacities of the
11    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
12    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
13    names. Each of the Defendants designated herein as a DOE is legally responsible
14    for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
15    Complaint to reflect the true names and capacities of the DOE Defendants when
16    such identities become known.
17            9.    Plaintiff is informed and believes that at all relevant times, each and
18    every Defendant was acting as an agent and/or employee of each of the other
19    Defendants and was acting within the course and scope of said agency and/or
20    employment with the full knowledge and consent of each of the other Defendants.
21    Plaintiff is informed and believes that each of the acts and/or omissions complained
22    of herein was made known to, and ratified by, each of the other Defendants.
23                               FACTUAL ALLEGATIONS
24            10.   Beginning in or around January 2020, Defendants contacted Plaintiff
25    on Plaintiff’s cellular telephone number ending in -7262 in an attempt to solicit
26    Plaintiff to purchase Defendants’ services.
27            11.   On information and belief, Defendant Legal Conversion Center
28    directly called Plaintiff for the purposes of generating leads in the Roundup


                                  CLASS ACTION COMPLAINT
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 1    litigation, by way of cold calling consumers using an automated telephone dialing
 2    system. In doing so, Legal Conversion Center did not scrub their outbound dialing
 3    list for cellular telephone number, nor did it scrub their outbound dialing list against
 4    the national Do Not Call Database. Had it done so using compliant and up to date
 5    methods, as approved by industry standards in TCPA compliance, it would not have
 6    placed a call to Plaintiff’s phone number, which is on the Do Not Call list and is a
 7    cellular phone.
 8          12.    Legal Conversion Center emailed the Plaintiff a retainer and contract
 9    for Weitz and Luxenberg and Grewal Law, with the information discussed during
10    the telemarketing call from Legal Conversion Center.
11          13.    On information and belief, Defendant Weitz & Luxenberg, P.C. is a
12    nationwide personal injury and mass tort law firm which has been actively
13    soliciting clients who may have personal injury claims against Monsanto for cancer
14    linked to use of Roundup products. The firm is actively looking for clients in this
15    area of litigation, as can be seen from numerous websites, including the following:
16    https://www.roundupinjuries.com/?gclid=Cj0KCQjw0pfzBRCOARIsANi0g0vt6
17    R3yA3HxoEuNn7X5eD9_H4EkN038TKC2i296tPd80tHeT6IJRqIaAteFEALw_
18    wcB&utm_medium=cpc&utm_term=roundup%20litigation&c_id=C-
19    8342&utm_content=search-ad&utm_source=google&utm_campaign=c-
20    8342_roundup_en_california_litigation
21          14.    As part of their campaign to solicit their services to clients, Grewal
22    Law and Weitz & Luxenberg hired Legal Conversion Center to generate clients on
23    the firm’s behalf.    Legal Conversion Center then did so in violation of the
24    Telephone Consumer Protection Act, acting on behalf of the other Defendants.
25          15.    Plaintiff received telemarketing calls under this arrangement.
26    Following receipt of the calls, Plaintiff was sent a retainer agreement under the
27    heading of Grewal Law, and stating that the retainer was for Plaintiff to retain the
28    services of Grewal Law and Weitz & Luxenberg for purposes of bringing a


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 1    Roundup claim.
 2          16.    Plaintiff has never sought the services of counsel for purpose of
 3    bringing a Roundup claim and did not provide prior express consent. Moreover,
 4    Plaintiff has no relationship with any of the three defendants that would permit
 5    direct attorney solicitations by telephone of this nature under the Model Rules, or
 6    to create an established business relationship.
 7          17.    Defendants used an “automatic telephone dialing system” as defined
 8    by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
 9    The calls at issue were placed with a traditional predictive dialer, as indicated by a
10    pause, and a “bloop” sound before a live agent was connected to the call.
11          18.    Defendants contacted or attempted to contact Plaintiff from telephone
12    number (606) 948-9206, which Plaintiff alleges on information and belief was a
13    spoofed telephone number, indicating of Defendants’ attempts to mask its identity
14    to avoid accountability from placing illegal robocalls, as well as having used an
15    ATDS to place the calls.
16          19.    Defendants further contacted the Plaintiff from 817-522-4631, 615-
17    645-1871 and interrupted the Plaintiff’s sleep by calling from 512-410-6823 on Jan
18    12, 2020.
19          20.    Defendants’ calls constituted calls that were not for emergency
20    purposes as defined by 47 U.S.C. § 227(b)(1)(A).
21          21.    During all relevant times, Defendants did not possess Plaintiff’s “prior
22    express consent” to receive calls using an automatic telephone dialing system or an
23    artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
24    227(b)(1)(A).
25          22.    Further, Plaintiff’s cellular telephone number ending in -7262 had
26    been on the National Do-Not-Call Registry well over thirty (30) days prior to
27    Defendants’ initial call.
28          23.    Defendants placed multiple calls soliciting its business to Plaintiff on


                                  CLASS ACTION COMPLAINT
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 1    his cellular telephone ending in -7262 or around January 2020.
 2          24.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
 3    64.1200(c)(2) as they were attempts to promote or sell Defendants’ services.
 4          25.    Plaintiff received at least one solicitation call from Defendants within
 5    a 12-month period.
 6          26.    Defendants called Plaintiff in an attempt to solicit its services and in
 7    violation of the National Do-Not-Call provisions of the TCPA.
 8          27.    Upon information and belief, and based on Plaintiff’s experiences of
 9    being called by Defendants after being on the National Do-Not-Call list for several
10    years prior to Defendants’ initial call, and at all relevant times, Defendants failed
11    to establish and implement reasonable practices and procedures to effectively
12    prevent telephone solicitations in violation of the regulations prescribed under 47
13    U.S.C. § 227(c)(5).
14                                CLASS ALLEGATIONS
15          28.    Plaintiff brings this action individually and on behalf of all others
16    similarly situated, as a member the two proposed classes (hereafter, jointly, “The
17    Classes”).
18          29.    The class concerning the ATDS claim for no prior express consent
19    (hereafter “The ATDS Class”) is defined as follows:
20
                   All persons within the United States who received any
21                 solicitation/telemarketing   telephone   calls    from
22                 Defendants to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
23
                   system or an artificial or prerecorded voice and such
24                 person had not previously consented to receiving such
25
                   calls within the four years prior to the filing of this
                   Complaint
26
27          30.    The class concerning the National Do-Not-Call violation (hereafter
28    “The DNC Class”) is defined as follows:


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 1
                   All persons within the United States registered on the
 2                 National Do-Not-Call Registry for at least 30 days, who
 3                 had not granted Defendants prior express consent nor
                   had a prior established business relationship, who
 4
                   received more than one call made by or on behalf of
 5                 Defendants that promoted Defendants’ products or
 6
                   services, within any twelve-month period, within four
                   years prior to the filing of the complaint.
 7
 8          31.    Plaintiff represents, and is a member of, The ATDS Class, consisting
 9    of all persons within the United States who received any collection telephone calls
10    from Defendants to said person’s cellular telephone made through the use of any
11    automatic telephone dialing system or an artificial or prerecorded voice and such
12    person had not previously not provided their cellular telephone number to
13    Defendants within the four years prior to the filing of this Complaint.
14          32.    Plaintiff represents, and is a member of, The DNC Class, consisting
15    of all persons within the United States registered on the National Do-Not-Call
16    Registry for at least 30 days, who had not granted Defendants prior express consent
17    nor had a prior established business relationship, who received more than one call
18    made by or on behalf of Defendants that promoted Defendants’ products or
19    services, within any twelve-month period, within four years prior to the filing of
20    the complaint.
21          33.    Defendants, its employees and agents are excluded from The Classes.
22    Plaintiff does not know the number of members in The Classes, but believes the
23    Classes members number in the thousands, if not more. Thus, this matter should
24    be certified as a Class Action to assist in the expeditious litigation of the matter.
25          34.    The Classes are so numerous that the individual joinder of all of its
26    members is impractical. While the exact number and identities of The Classes
27    members are unknown to Plaintiff at this time and can only be ascertained through
28    appropriate discovery, Plaintiff is informed and believes and thereon alleges that


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 1    The Classes includes thousands of members. Plaintiff alleges that The Classes
 2    members may be ascertained by the records maintained by Defendants.
 3          35.    Plaintiff and members of The ATDS Class were harmed by the acts of
 4    Defendants in at least the following ways: Defendants illegally contacted Plaintiff
 5    and ATDS Class members via their cellular telephones thereby causing Plaintiff
 6    and ATDS Class members to incur certain charges or reduced telephone time for
 7    which Plaintiff and ATDS Class members had previously paid by having to retrieve
 8    or administer messages left by Defendants during those illegal calls, and invading
 9    the privacy of said Plaintiff and ATDS Class members.
10          36.    Common questions of fact and law exist as to all members of The
11    ATDS Class which predominate over any questions affecting only individual
12    members of The ATDS Class. These common legal and factual questions, which
13    do not vary between ATDS Class members, and which may be determined without
14    reference to the individual circumstances of any ATDS Class members, include,
15    but are not limited to, the following:
16                 a.     Whether, within the four years prior to the filing of this
17                        Complaint, Defendants made any telemarketing/solicitation
18                        call (other than a call made for emergency purposes or made
19                        with the prior express consent of the called party) to a ATDS
20                        Class member using any automatic telephone dialing system or
21                        any artificial or prerecorded voice to any telephone number
22                        assigned to a cellular telephone service;
23                 b.     Whether Plaintiff and the ATDS Class members were damaged
24                        thereby, and the extent of damages for such violation; and
25                 c.     Whether Defendants should be enjoined from engaging in such
26                        conduct in the future.
27          37.    As a person that received numerous telemarketing/solicitation calls
28    from Defendants using an automatic telephone dialing system or an artificial or


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 1    prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
 2    claims that are typical of The ATDS Class.
 3          38.    Plaintiff and members of The DNC Class were harmed by the acts of
 4    Defendants in at least the following ways: Defendants illegally contacted Plaintiff
 5    and DNC Class members via their telephones for solicitation purposes, thereby
 6    invading the privacy of said Plaintiff and the DNC Class members whose telephone
 7    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
 8    members were damaged thereby.
 9          39.    Common questions of fact and law exist as to all members of The
10    DNC Class which predominate over any questions affecting only individual
11    members of The DNC Class. These common legal and factual questions, which do
12    not vary between DNC Class members, and which may be determined without
13    reference to the individual circumstances of any DNC Class members, include, but
14    are not limited to, the following:
15                 a.     Whether, within the four years prior to the filing of this
16                        Complaint, Defendants or its agents placed more than one
17                        solicitation call to the members of the DNC Class whose
18                        telephone numbers were on the National Do-Not-Call Registry
19                        and who had not granted prior express consent to Defendants
20                        and did not have an established business relationship with
21                        Defendants;
22                 b.     Whether Defendants obtained prior express written consent to
23                        place solicitation calls to Plaintiff or the DNC Class members’
24                        telephones;
25                 c.     Whether Plaintiff and the DNC Class members were damaged
26                        thereby, and the extent of damages for such violation; and
27                 d.     Whether Defendants and its agents should be enjoined from
28                        engaging in such conduct in the future.


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 1           40.    As a person that received numerous solicitation calls from Defendants
 2     within a 12-month period, who had not granted Defendants prior express consent
 3     and did not have an established business relationship with Defendants, Plaintiff is
 4     asserting claims that are typical of the DNC Class.
 5           41.    Plaintiff will fairly and adequately protect the interests of the members
 6     of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
 7     class actions.
 8           42.    A class action is superior to other available methods of fair and
 9     efficient adjudication of this controversy, since individual litigation of the claims
10     of all Classes members is impracticable. Even if every Classes member could
11     afford individual litigation, the court system could not. It would be unduly
12     burdensome to the courts in which individual litigation of numerous issues would
13     proceed. Individualized litigation would also present the potential for varying,
14     inconsistent, or contradictory judgments and would magnify the delay and expense
15     to all parties and to the court system resulting from multiple trials of the same
16     complex factual issues. By contrast, the conduct of this action as a class action
17     presents fewer management difficulties, conserves the resources of the parties and
18     of the court system, and protects the rights of each Classes member.
19           43.    The prosecution of separate actions by individual Classes members
20     would create a risk of adjudications with respect to them that would, as a practical
21     matter, be dispositive of the interests of the other Classes members not parties to
22     such adjudications or that would substantially impair or impede the ability of such
23     non-party Class members to protect their interests.
24           44.    Defendants have acted or refused to act in respects generally
25     applicable to The Classes, thereby making appropriate final and injunctive relief
26     with regard to the members of the Classes as a whole.
27                               FIRST CAUSE OF ACTION
28            Negligent Violations of the Telephone Consumer Protection Act


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 1                                     47 U.S.C. §227(b).
 2                               On Behalf of the ATDS Class
 3           45.    Plaintiff repeats and incorporates by reference into this cause of action
 4     the allegations set forth above at Paragraphs 1-37.
 5           46.    The foregoing acts and omissions of Defendants constitute numerous
 6     and multiple negligent violations of the TCPA, including but not limited to each
 7     and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
 8     47 U.S.C. § 227 (b)(1)(A).
 9           47.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b),
10     Plaintiff and the Class Members are entitled to an award of $500.00 in statutory
11     damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
12           48.    Plaintiff and the ATDS Class members are also entitled to and seek
13     injunctive relief prohibiting such conduct in the future.
14                             SECOND CAUSE OF ACTION
15      Knowing and/or Willful Violations of the Telephone Consumer Protection
16                                             Act
17                                     47 U.S.C. §227(b)
18                               On Behalf of the ATDS Class
19           49.    Plaintiff repeats and incorporates by reference into this cause of action
20     the allegations set forth above at Paragraphs 1-41.
21           50.    The foregoing acts and omissions of Defendants constitutes numerous
22     and multiple knowing and/or willful violations of the TCPA, including but not
23     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
24     and in particular 47 U.S.C. § 227 (b)(1)(A).
25           51.    As a result of Defendants’ knowing and/or willful violations of 47
26     U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled to an award of
27     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
28     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


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 1           52.    Plaintiff and the Class members are also entitled to and seek injunctive
 2     relief prohibiting such conduct in the future.
 3                               THIRD CAUSE OF ACTION
 4            Negligent Violations of the Telephone Consumer Protection Act
 5                                     47 U.S.C. §227(c)
 6                                On Behalf of the DNC Class
 7           53.    Plaintiff repeats and incorporates by reference into this cause of action
 8     the allegations set forth above at Paragraphs 1-45.
 9           54.    The foregoing acts and omissions of Defendants constitutes numerous
10     and multiple negligent violations of the TCPA, including but not limited to each
11     and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
12     47 U.S.C. § 227 (c)(5).
13           55.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(c),
14     Plaintiff and the DNC Class Members are entitled to an award of $500.00 in
15     statutory damages, for each and every violation, pursuant to 47 U.S.C. §
16     227(c)(5)(B).
17           56.    Plaintiff and the DNC Class members are also entitled to and seek
18     injunctive relief prohibiting such conduct in the future.
19                               FOURTH CAUSE OF ACTION
20      Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                             Act
22                                   47 U.S.C. §227 et seq.
23                                On Behalf of the DNC Class
24           57.    Plaintiff repeats and incorporates by reference into this cause of action
25     the allegations set forth above at Paragraphs 1-49.
26           58.    The foregoing acts and omissions of Defendants constitutes numerous
27     and multiple knowing and/or willful violations of the TCPA, including but not
28     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),


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 1     in particular 47 U.S.C. § 227 (c)(5).
 2           59.      As a result of Defendants’ knowing and/or willful violations of 47
 3     U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled to an award of
 4     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 5     § 227(c)(5).
 6           60.      Plaintiff and the DNC Class members are also entitled to and seek
 7     injunctive relief prohibiting such conduct in the future.
 8                                   PRAYER FOR RELIEF
 9     WHEREFORE, Plaintiff requests judgment against Defendants for the following:
10                                FIRST CAUSE OF ACTION
11            Negligent Violations of the Telephone Consumer Protection Act
12                                      47 U.S.C. §227(b)
13                  As a result of Defendants’ negligent violations of 47 U.S.C.
14                    §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
15                    request $500 in statutory damages, for each and every violation,
16                    pursuant to 47 U.S.C. 227(b)(3)(B).
17                  Any and all other relief that the Court deems just and proper.
18
19                              SECOND CAUSE OF ACTION
20      Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                              Act
22                                      47 U.S.C. §227(b)
23                  As a result of Defendants’ willful and/or knowing violations of 47
24                    U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
25                    entitled to and request treble damages, as provided by statute, up to
26                    $1,500, for each and every violation, pursuant to 47 U.S.C.
27                    §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
28                  Any and all other relief that the Court deems just and proper.


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 1                               THIRD CAUSE OF ACTION
 2            Negligent Violations of the Telephone Consumer Protection Act
 3                                      47 U.S.C. §227(c)
 4                  As a result of Defendants’ negligent violations of 47 U.S.C.
 5                  §227(c)(5), Plaintiff and the DNC Class members are entitled to and
 6                  request $500 in statutory damages, for each and every violation,
 7                  pursuant to 47 U.S.C. 227(c)(5).
 8                  Any and all other relief that the Court deems just and proper.
 9                             FOURTH CAUSE OF ACTION
10      Knowing and/or Willful Violations of the Telephone Consumer Protection
11                                              Act
12                                      47 U.S.C. §227(c)
13                  As a result of Defendants’ willful and/or knowing violations of 47
14                  U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
15                  to and request treble damages, as provided by statute, up to $1,500,
16                  for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
17                  Any and all other relief that the Court deems just and proper.
18
19           61.    Pursuant to the Seventh Amendment to the Constitution of the United
20     States of America, Plaintiff is entitled to, and demands, a trial by jury.
21
             Respectfully Submitted this 21st day of April, 2020.
22
                                  LAW OFFICES OF TODD M. FRIEDMAN, P.C.
23
24                                       By: /s/ Todd M. Friedman
                                             Todd M. Friedman
25
                                             Law Offices of Todd M. Friedman
26                                           Attorney for Plaintiff
27
28



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                                                 14
